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                            IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON


JENNIFER JOY FREYD,

               Plaintiff,                                    Case. No. 6:17-cv-00448-MC

       v.                                                    OPINION AND ORDER

UNIVERSITY OF OREGON, MICHAEL
H. SCHILL and HAL SADOFSKY,

            Defendants.
_____________________________

MCSHANE, Judge:

       Months after this Court granted Defendants’ motions for summary judgment, Plaintiff

moves for relief from judgment under Federal Rule of Civil Procedure 60(b)(2), arguing that a

letter from Dr. Nicholas Allen constitutes newly discovered evidence. Pl.’s Mot. for Relief 2,

ECF No. 107. Defendants oppose the motion, arguing that Plaintiff fails to establish any of the

elements necessary to prevail on a motion for relief from judgment. Def.’s Resp. in Opp’n to

Pl.’s Mot. for Relief 2, ECF No. 110. Because the content of Dr. Allen’s letter could have been

discovered and, in any event, would not have changed the disposition of the case, Plaintiff’s

Motion for Relief from Judgment is DENIED.




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          Rule 60(b)(2) allows a court to relieve a party from judgment when presented with

“newly discovered evidence that, with reasonable diligence, could not have been discovered in

time to move for a new trial under Rule 59(b).” Fed. R. Civ. P. 60(b)(2). To prevail on a motion

for relief from judgment, Plaintiff must show that the evidence “(1) existed at the time of the

summary judgment motion, ‘(2) could not have been discovered through due diligence, and (3)

was “of such magnitude that production of it earlier would have been likely to change the

disposition of the case.”’” W. Helicopter Servs., Inc. v. Rogerson Aircraft Corp., 777 F. Supp.

1543, 1545 (D. Or. 1991) (quoting Jones v. Aero/Chem Corp., 921 F.2d 875, 878 (9th Cir.

1990)).

          Plaintiff argues that although Dr. Allen drafted the letter after the Court granted summary

judgment, the content of the letter existed before summary judgment. Pl.’s Mot. for Relief 6.

Even assuming that is true, Plaintiff cannot establish the second and third elements necessary to

prevail on her motion for relief. Plaintiff could have discovered the content of the letter simply

by deposing Dr. Allen. Plaintiff specifically selected Dr. Allen as one of her four comparators yet

chose to depose only one of the four. Def.’s Resp. in Opp’n to Pl.’s Mot. for Relief 5. It may be

true that Plaintiff had no reason to believe Dr. Allen would provide the specific content in his

letter. Still, Plaintiff chose not to depose Dr. Allen, despite the core of Plaintiff’s pay equity

claims being whether she performed work of “comparable character” or “substantially equal”

work to her comparators. See ORS § 652.220(1); Stanley v. Univ. of S. Cal., 178 F.3d 1069,

1073–74 (9th Cir. 1999). Further, if—as Plaintiff now argues—Dr. Allen’s views expressed in

his letter were significant enough to alter the outcome of the case, such that they now warrant




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relief from judgment, it seems odd that Plaintiff chose not to depose Dr. Allen.1 While selecting

which individuals to depose is a matter of strategy, it is a stretch to say that Dr. Allen’s opinions

from his letter could not have been discovered.

        More importantly, Plaintiff’s motion for relief from judgment fails because the content of

Dr. Allen’s letter would not have changed the disposition of the case. Dr. Allen “believe[s] that

in terms of academic merit Dr. Freyd’s achievements are equal to if not greater than [his] own.”

Decl. of Nicholas B. Allen 2, ECF No. 109-1. He criticizes the compensation system in U.S.

higher education, stating that “very large disparities in pay . . . can occur between individuals at

the same level of appointment.” Id. These opinions, however, have no bearing on the legal

standard for pay equity claims.

        To prevail on her pay equity claims, Plaintiff needed to demonstrate that her male

comparators were paid higher wages for comparable or substantially equal work. See ORS §

652.220(1); Stanley, 178 F.3d at 1073–74. For this analysis, the pertinent information from Dr.

Allen included his day-to-day work duties, which Dr. Allen described in a declaration at the

summary judgment stage. See Decl. of Nicholas B. Allen, ECF No. 59. In his second declaration,

Dr. Allen confirmed that “all the information in [his prior] declaration was factual.” Decl. of

Nicholas B. Allen 2, ECF No. 109. After reviewing Dr. Allen’s work duties in comparison to

Plaintiff’s, this Court held that Plaintiff and Dr. Allen do not perform comparable or substantially

equal work sufficient to establish Plaintiff’s pay equity claims. See Op. & Order 10–13, ECF No.

93. The opinions Dr. Allen expressed in his letter regarding Plaintiff’s academic merit and the

compensation system in higher education are not relevant to this determination.




1The Court must stress that Dr. Allen is not simply one random professor at a large university with hundreds of
professors. Rather, Dr. Allen is only one of four alleged comparators specifically chosen by Plaintiff.

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        Plaintiff also argues that Dr. Allen’s letter constitutes new evidence on her claim of

disparate impact. This Court held that Plaintiff did not provide sufficient statistical evidence to

establish that the University’s practice of offering retention raises has a disparate impact on

women. Op. & Order 17–18. Dr. Allen’s belief that “the system for determining compensation at

US Universities is vulnerable to bias,” Decl. of Nicholas B. Allen 2, is also not sufficient

statistical evidence to establish a claim of disparate impact. Further, Dr. Allen acknowledged that

“the University of Oregon cannot unilaterally disarm in this system if it wishes to attract and

retain strong faculty.” Id.

        This Court maintains now, as it did in the earlier opinion, that Plaintiff “is a remarkable

teacher and a well-respected scholar.” Op. & Order 3. No party disputes those facts. Clearly, Dr.

Allen supports Plaintiff’s academic merit and disfavors the current compensation system in U.S.

higher education. However, these sentiments are not relevant to the legal analysis of whether

Plaintiff suffered pay discrimination based on gender. Dr. Allen’s letter does not change the

conclusion that Plaintiff and her four male comparators do not perform substantially similar

work and, therefore, it would not have changed the disposition of the case as required to prevail

on a motion for relief from judgment.

        Because Plaintiff’s Motion for Relief from Judgment is denied, the Court moves now to

Defendants’ requests for an award of fees and costs of $12,587.57. Bill of Costs, ECF Nos. 96,

100. Defendants University of Oregon and Hal Sadofsky seek $7,440.80 for transcripts

necessarily obtained for use in the case, $1,252.82 in copying fees, and $20.00 in docket fees.

Bill of Costs, ECF No. 96. Defendant Michael Schill seeks recovery of $3,853.95 for transcripts

necessarily obtained for use in the case and $20.00 in docket fees. Bill of Costs, ECF No. 100.

Plaintiff opposes the motions. Pl.’s Obj. to Defs.’ Bill of Costs, ECF No. 102.



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        Prevailing parties, like Defendants here, are generally entitled to an award of costs under

28 U.S.C. § 1920. Fed. R. Civ. P. 54(d)(1). There is a “presumption in favor of awarding costs to

a prevailing party,” subject to the court’s discretion. Ass’n of Mexican-American Educ. v.

California, 231 F.3d 572, 591 (9th Cir. 2000). Plaintiff has not overcome the presumption in

favor of awarding costs and awarding costs here would not be inequitable nor would it chill

potential plaintiffs from bringing civil rights actions in the future.

        First, Plaintiff is not indigent. Her annual salary is not so modest that an award here

would result in severe injustice. Second, the relatively small sum requested by Defendants would

not chill future civil rights litigation. Plaintiff argues that this case is of substantial public

importance, similar to Escriba v. Foster Poultry Farms, Inc., 743 F.3d 1236 (9th Cir. 2014),

where an employee alleged that her employer violated the Family Medical Leave Act (FMLA).

However, Plaintiff’s claims do not rise to the same level of technical complexity that was present

in Escriba, where an understanding of expert testimony, workplace policies, and FMLA

regulations were key. Id. at 1248. Further, in concluding that the case presented issues of

substantial public importance, the court relied on a letter written by an Associate Solicitor for the

United States Department of Labor, which explained that cases like Escriba “establish the

parameters of what constitutes sufficient employee notice,” which is “particularly important to

the public interest.” Id.

        Unlike the plaintiff’s claim in Escriba, which defined new parameters of employee notice

under the FMLA, here, Plaintiff’s claims do not establish new standards or parameters of what

may constitute employment discrimination. Rather, this case was evaluated under previously

defined standards involved in pay equity claims, all of which have been litigated numerous times

before. In addition to the core differences between this case and Escriba, Plaintiff has not



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provided sufficient evidence that an award of a reasonable amount of costs and fees would be

inequitable or create a chilling effect on future civil rights actions. The Ninth Circuit explained

that the “financial resources of the plaintiff” and the effect of imposing “high costs on losing

civil rights plaintiffs of modest means” are considerations a district court should undertake when

deciding whether to award costs. Stanley, 178 F.3d at 1079–80. But in doing so,

        [A] district court need not give affirmative reasons for awarding costs; instead, it
       need only find that the reasons for denying costs are not sufficiently persuasive to
       overcome the presumption in favor of an award. . . . Stanley only held that, in the
       rare occasion where severe injustice will result from an award of costs (such as the
       injustice that would result from an indigent plaintiff’s being forced to pay tens of
       thousands of dollars of her alleged oppressor’s legal costs), a district court abuses
       its discretion by failing to conclude that the presumption has been rebutted. No such
       injustice will result from the award of $5,310.55 in this case.

Save Our Valley v. Sound Transit, 335 F.3d 932, 945–46 (9th Cir. 2003). Here, Plaintiff has not

overcome the presumption in favor of an award of costs because Plaintiff is not indigent and the

relatively small sum requested by Defendants would not chill future civil rights litigation.

       The Court notes Defendants failed to demonstrate that the deposition transcripts of Dr.

Srivastava, Dr. Marcus, and Ms. Shipper were “necessarily obtained for use in the case.” See 28

U.S.C. § 1920(2); Arboireau v. Adidas Salomon AG, No. CV-01-1050-ST, 2002 WL 31466564,

at *5 (D. Or. June 14, 2002) (deposition transcript costs not recoverable where defendants failed

to demonstrate that the transcripts were used to support the summary judgment motion). For

example, Defendant Schill requested a transcript fee for the deposition of Ms. Shipper, yet did

not reference or rely on Ms. Shipper’s deposition testimony in any of his pleadings. Defendant

Schill is entitled to the deposition fees associated with his own deposition and the deposition of

Plaintiff, as they are both named parties to the case and both depositions were heavily relied on

in Defendant’s pleadings. The Court awards Defendant Schill transcript fees of $3,517.15 and

$20.00 for a total of $3,537.15.


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       Similarly, Defendants University of Oregon and Sadofsky did not reference or rely on the

deposition testimony of Dr. Srivastava, Dr. Marcus, or Ms. Shipper in any of their pleadings.

Because Defendants failed to demonstrate that these deposition transcripts were “necessarily

obtained for use in the case,” The Court awards them transcript fees of $1,252.82, $5,872.30, and

$20.00 for a total of $7,145.12.

       Costs are generally allowed to the prevailing party. Fed. R. Civ. P. 54(d)(1). The

requested costs for copying fees, docket fees, and deposition transcripts, excluding the transcripts

of Dr. Srivastava, Dr. Marcus, and Ms. Shipper, are recoverable by the prevailing party. See 28

U.S.C. § 1920(2)-(3). The Court awards Defendant Schill $3,537.15 in costs and Defendants

University of Oregon and Sadofsky $7,145.12 in costs.

IT IS SO ORDERED.

       DATED this 25th day of October, 2019.



                                             __________/s/ Michael McShane____________
                                                           Michael McShane
                                                      United State District Judge




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